Case 2:04-cr-20308-.]PI\/| Document 34 Filed 06/01/05 Page 1 of 3 Page|D 50

IN 'I`HE U'NITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

U'NITED STATES OF AMERICA
Plaintiff,

Criminal No. Osf - 02030?’ Ml

(30-Day Continuance)

Clafmc€ p~€{/)Q,€,¢

 

 

 

 

v~_/v~_/~_/\_¢\_,`_,\_¢V`_/`_,\_/V\_/`_,W\_,~__,`__,

Defendant(s}.

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set On the June, 2005,
criminal rotation calendar, but is now RESET for report at §igg
a.m. on Friday, June 24, 2005, with trial to take place on the
July, 2005 rotation calendar with the time excluded under the

Speedy Trial Act through July 15, 2005. Agreed in open court at-~"wa\

 

with F\u|e 55 and!or 32(b) FRCrF’ on

Case 2:04-cr-20308-.]PI\/| Document 34 Filed 06/01/05 Page 2 of 3 Page|D 51

SO ORDERED this lSE day of June, 2005.

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JON PHIPPS MCCALLA
UN TED S'I`ATES DISTRICT JUDGE

 

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`ted States Attorne

 

Assistant

       

 

 

 

Counsel for Defendant(s)

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 2:04-CR-20308 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

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Honorable J on McCalla
US DISTRICT COURT

